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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE
                                                                )
In re:                                                          )     Chapter 11
                                                                )
CARBONLITE HOLDINGS LLC, et al.,1                               )     Case No. 21-10527 (JTD)
                                                                )
                                           Debtors.             )     (Jointly Administered)
                                                                )

    SCHEDULES OF ASSETS AND LIABILITIES FOR CARBONLITE HOLDINGS LLC
                           (CASE NO. 21-10527)




____________________________________________
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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
CarbonLite Holdings LLC (8957); CarbonLite Industries LLC (3596); CarbonLite P Holdings, LLC (8957);
CarbonLite P, LLC (5453); CarbonLite PI Holdings, LLC (8957); CarbonLite Pinnpack, LLC (8957); CarbonLite
Recycling Holdings LLC (8957); CarbonLite Recycling LLC (3727); CarbonLite Sub-Holdings, LLC (8957);
Pinnpack P, LLC (8322); and Pinnpack Packaging, LLC (9948). The address of the Debtors’ corporate headquarters
is 10250 Constellation Blvd., Los Angeles, CA 90067
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                            )
In re:                                                      )     Chapter 11
                                                            )
CARBONLITE HOLDINGS LLC, et al.,1                           )     Case No. 21-10527 (JTD)
                                                            )
                                   Debtors.                 )     (Jointly Administered)
                                                            )

         GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
           AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        CarbonLite Holdings, LLC, and certain of its affiliates, as debtors and debtors in possession
in the above-captioned chapter 11 cases (the “Debtors”), have filed their respective Schedules of
Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements”) in
the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). The
Debtors, with the assistance of their Chief Restructuring Officer (“CRO”), prepared the Schedules
and Statements in accordance with section 521 of chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”), Rule 1007 of the Federal Rules of Bankruptcy Procedure, and Rule
1007-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy
Court for the District of Delaware.

       Brian Weiss has signed each set of the Schedules and Statements. Mr. Weiss serves as the
CRO of the Debtors. In reviewing and signing the Schedules and Statements, Mr. Weiss has
necessarily relied upon the efforts, statements, and representations of the Debtors’ personnel and
professionals. Given the scale of the Debtors’ business and complexity of their businesses covered
by the Schedules and Statements, Mr. Weiss has not (and could not have) personally verified the
accuracy of each such statement and representation, including statements and representations
concerning amounts owed to creditors.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made every reasonable effort to ensure the accuracy and completeness of the
Schedules and Statements, subsequent information or discovery may result in material changes to
the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the Schedules
and Statements as may be necessary or appropriate.

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 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
CarbonLite Holdings LLC (8957); CarbonLite Industries LLC (3596); CarbonLite P Holdings LLC (8957);
CarbonLite P LLC (5453); CarbonLite PI Holdings LLC (8957); CarbonLite Pinnpack LLC (8957); CarbonLite
Recycling Holdings LLC (8957); CarbonLite Sub-Holdings, LLC (8957); Pinnpack P, LLC (8322); CarbonLite
Recycling LLC (3727); and Pinnpack Packaging LLC (9948). The address of the Debtors’ corporate headquarters is
10250 Constellation Blvd., Los Angeles, CA 90067.



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        The Debtors and their CRO, agents, and attorneys do not guarantee or warrant the accuracy
or completeness of the data that is provided herein, and shall not be liable for any loss or injury
arising out of or caused in whole or in part by the acts, errors, or omissions, whether negligent or
otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating, or
delivering the information contained herein. While commercially reasonable efforts have been
made to provide accurate and complete information herein, inadvertent errors or omissions may
exist. The Debtors and their CRO, agents, and attorneys expressly do not undertake any obligation
to update, modify, revise, or re-categorize the information provided herein, or to notify any third
party should the information be updated, modified, revised, or re-categorized, except as required
by applicable law. In no event shall the Debtors or their officers, employees, agents, or
professionals be liable to any third party for any direct, indirect, incidental, consequential, or
special damages (including, but not limited to, damages arising from the disallowance of a
potential claim against the Debtors or damages to business reputation, lost business, or lost profits),
whether foreseeable or not and however caused, even if the Debtors or their officers, employees,
agents, attorneys, or their professionals are advised of the possibility of such damages.

Global Notes and Overview of Methodology

1.      Description of Cases. On March 8, 2021, (the “Petition Date”), each of the Debtors filed
        voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors are
        operating their businesses and managing their property as debtors in possession pursuant
        to sections 1107(a) and 1108 of the Bankruptcy Code. On March 9, 2021, an order was
        entered directing procedural consolidation and joint administration of these chapter 11
        cases [Docket No. 64]. Notwithstanding the joint administration of the Debtors’ cases for
        procedural purposes, each Debtor has filed its own Schedules and Statements. The
        information provided herein, except as otherwise noted, is reported as of the Petition Date.

2.      Global Notes Control. These Global Notes pertain to and comprise an integral part of
        each of the Debtors’ Schedules and Statements and should be referenced in connection
        with any review thereof. In the event that the Schedules and Statements conflict these
        Global Notes, these Global Notes shall control.

3.      Reservations and Limitations. Reasonable efforts have been made to prepare and file
        complete and accurate Schedules and Statements; however, as noted above, inadvertent
        errors or omissions may exist. The Debtors reserve all rights to amend and supplement the
        Schedules and Statements as may be necessary or appropriate. Nothing contained in the
        Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an admission
        of any kind with respect to these chapter 11 cases, including, but not limited to, any rights
        or claims of the Debtors against any third party or issues involving substantive
        consolidation, equitable subordination, or defenses or causes of action arising under the
        provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy
        or non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
        rights contained elsewhere in the Global Notes does not limit in any respect the general
        reservation of rights contained in this paragraph.

        a.         No Admission. Nothing contained in the Schedules and Statements is intended or
                   should be construed as an admission or stipulation of the validity of any claim

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                   against the Debtors, any assertion made therein or herein, or a waiver of the
                   Debtors’ rights to dispute any claim or assert any cause of action or defense against
                   any party.

        b.         Recharacterization. Notwithstanding that the Debtors have made reasonable
                   efforts to correctly characterize, classify, categorize, or designate certain claims,
                   assets, executory contracts, unexpired leases, and other items reported in the
                   Schedules and Statements, the Debtors nonetheless may have improperly
                   characterized, classified, categorized, or designated certain items. The Debtors thus
                   reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
                   reported in the Schedules and Statements at a later time as is necessary and
                   appropriate.

        c.         Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                   Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                   “executory” or “unexpired” does not constitute an admission by the Debtors of the
                   legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
                   rights to recharacterize or reclassify such claim or contract.

        d.         Claims Description. Any failure to designate a claim on a given Debtor’s
                   Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
                   constitute an admission by the Debtor that such amount is not “disputed,”
                   “contingent,” or “unliquidated.” The Debtors reserve all rights to dispute, or assert
                   offsets or defenses to, any claim reflected on their respective Schedules and
                   Statements on any grounds, including, without limitation, liability or classification,
                   or to otherwise subsequently designate such claims as “disputed,” “contingent,” or
                   “unliquidated” or object to the extent, validity, enforceability, priority, or
                   avoidability of any claim. Moreover, listing a claim does not constitute an
                   admission of liability by the Debtor against which the claim is listed or by any of
                   the Debtors. The Debtors reserve all rights to amend their Schedules and
                   Statements as necessary and appropriate, including, but not limited to, with respect
                   to claim description and designation.

        e.         Estimates and Assumptions. The preparation of the Schedules and Statements
                   required the Debtors to make reasonable estimates and assumptions with respect to
                   the reported amounts of assets and liabilities, the amount of contingent assets and
                   contingent liabilities on the date of the Schedules and Statements, and the reported
                   amounts of revenues and expenses during the applicable reporting periods. Actual
                   results could differ from such estimates.

        f.         Intellectual Property Rights. Exclusion of certain intellectual property should not
                   be construed to be an admission that such intellectual property rights have been
                   abandoned, have been terminated or otherwise expired by their terms, or have been
                   assigned or otherwise transferred pursuant to a sale, acquisition, or other
                   transaction. Conversely, inclusion of certain intellectual property should not be
                   construed to be an admission that such intellectual property rights have not been
                   abandoned, have not been terminated or otherwise expired by their terms, or have

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                   not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
                   transaction.

        g.         Insiders. The listing of a party as an insider for purposes of the Schedules and
                   Statements is not intended to be, nor should it be, construed an admission of any
                   fact, right, claim, or defense, and all such rights, claims, and defenses are hereby
                   expressly reserved. Information regarding the individuals listed as insiders in the
                   Schedules and Statements has been included for informational purposes only and
                   such information may not be used for the purposes of determining control of the
                   Debtors, the extent to which any individual exercised management responsibilities
                   or functions, corporate decision-making authority over the Debtors, or whether
                   such individual could successfully argue that he or she is not an insider under
                   applicable law, including the Bankruptcy Code and federal securities laws, or with
                   respect to any theories of liability or any other purpose.

                   In the circumstance where the Schedules and Statements require information
                   regarding “insiders”, the Debtors have included information with respect to the
                   individuals who the Debtors believe are included in the definition of “insider” set
                   forth in section 101(31) of the Bankruptcy Code during the relevant time periods.

4.      Methodology.

        a.         Basis of Presentation. The Schedules and Statements do not purport to represent
                   financial statements prepared in accordance with Generally Accepted Accounting
                   Principles in the United States (“GAAP”), nor are they intended to be fully
                   reconciled to the financial statements of each Debtor. The Schedules and
                   Statements contain unaudited information that is subject to further review and
                   potential adjustment. The Schedules and Statements reflect the Debtors’
                   reasonable efforts to report the assets and liabilities of each Debtor on an
                   unconsolidated basis except as noted on the applicable Schedules/Statements or
                   herein.

        b.         Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
                   may properly be disclosed in response to multiple parts of the Statements and
                   Schedules. To the extent these disclosures would be duplicative, the Debtors have
                   determined to only list such assets, liabilities and prepetition payments once.

        c.         Net Book Value. In certain instances, current market valuations for individual
                   items of property and other assets are neither maintained by, nor readily available
                   to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
                   and Statements reflect estimates of net book values as of the Petition Date. Market
                   values may vary materially, from net book values. It would be prohibitively
                   expensive, unduly burdensome, and an inefficient use of estate assets for the
                   Debtors to obtain the current market values of all their property. Accordingly, the
                   Debtors have indicated in the Schedules and Statements that the values of certain
                   assets and liabilities are undetermined. Amounts ultimately realized may vary
                   materially from net book value (or whatever value was ascribed). Accordingly, the


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                   Debtors reserve all rights to amend, supplement or adjust the asset values set forth
                   herein. Also, assets that have been fully depreciated or that were expensed for
                   accounting purposes either do not appear in these Schedules and Statements or are
                   listed with a zero-dollar value, as such assets have no net book value.

        d.         Property and Equipment. Unless otherwise indicated, owned property and
                   equipment are valued at net book value. The Debtors may lease furniture, fixtures,
                   and equipment from certain third-party lessors. To the extent possible, any such
                   leases are listed in the Schedules and Statements. Nothing in the Schedules and
                   Statements is, or should be construed as, an admission as to the determination of
                   the legal status of any lease (including whether any lease is a true lease or a
                   financing arrangement), and the Debtors reserve all rights with respect thereto.

        e.         Allocation of Liabilities. The Debtors allocated liabilities between the prepetition
                   and postpetition periods based on the information and research conducted in
                   connection with the preparation of the Schedules and Statements. As additional
                   information becomes available and further research is conducted, the allocation of
                   liabilities between the prepetition and postpetition periods may change.

        f.         Undetermined Amounts. The description of an amount as “unknown” is not
                   intended to reflect upon the materiality of such amount.

        g.         Unliquidated Amounts. Amounts that could not be fairly quantified by the
                   Debtors are scheduled as “unliquidated” or “unknown.”

        h.         Totals. All totals that are included in the Schedules and Statements represent totals
                   of all known amounts. To the extent there are unknown or undetermined amounts,
                   the actual total may be different than the listed total.

        i.         Intercompany Claims. Receivables and payables among the Debtors and among
                   the Debtors and their non-Debtor affiliates are reported on Schedule A/B and
                   Schedule E/F, respectively, per the Debtors’ books and records. The listing of any
                   amounts with respect to such receivables and payables is not, and should not be
                   construed as, an admission of the characterization of such balances as debt, equity,
                   or otherwise. These claims are subject reconciliation and the amounts listed may
                   be materially misstated and subject to material adjustment upon the conclusion of
                   a reconciliation.

        j.         Guarantees and Other Secondary Liability Claims. The Debtors have exercised
                   reasonable efforts to locate and identify guarantees in their executory contracts,
                   unexpired leases, secured financings, and other such agreements. Where
                   guarantees have been identified, they have been included in the relevant Schedule
                   G with respect to leases and Schedule H with respect to credit agreements for the
                   affected Debtor or Debtors. The Debtors may have inadvertently omitted
                   guarantees embedded in their contractual agreements and may identify additional
                   guarantees as they continue their review of their books and records and contractual
                   agreements. The Debtors reserve their rights to amend the Schedules and


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                   Statements if additional guarantees are identified.

        k.         Excluded Assets and Liabilities. The Debtors have excluded the following
                   categories of assets and liabilities from the Schedules and Statements: certain
                   deferred rent charges, accounts, or reserves recorded only for purposes of
                   complying with the requirements of GAAP; and certain accrued liabilities
                   including, but not limited to, employee benefits. Other immaterial assets and
                   liabilities may also have been excluded.

        l.         Liens. The inventories, property and equipment listed in the Schedules and
                   Statements are presented without consideration of any liens.

        m.         Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

        n.         Setoffs. The Debtors incur setoffs and net payments in the ordinary course of
                   business. Such setoffs and nettings may occur due to a variety of transactions or
                   disputes including, but not limited to, intercompany transactions, counterparty
                   settlements, deposits received from customer, and amounts due from customers that
                   may also be vendors. These normal, ordinary course setoffs and nettings are due
                   to the nature of the Debtors customer and supplier relationships. Such setoffs and
                   other similar rights may have been accounted for when scheduling certain amounts,
                   these ordinary course setoffs are not independently accounted for, and as such, are
                   or may be excluded from the Debtors’ Schedules and Statements. In addition, some
                   amounts listed in the Schedules and Statements may have been affected by setoffs
                   or nettings by third parties of which the Debtors are not yet aware. The Debtors
                   reserve all rights to challenge any setoff and/or recoupment rights that may be
                   asserted.

5.      Specific Schedules Disclosures.

        a.         Schedule A/B, Parts 1 and 2 - Cash and Cash Equivalents; Deposits and
                   Prepayments. Details with respect to the Debtors’ cash management system and
                   bank accounts are provided in the Debtors’ Motion for Interim and Final Orders
                   Under Sections 105, 345, 363, 364, 503, 1107 and 1108 of the Bankruptcy Code
                   Authorizing (I) Maintenance of Existing Bank Accounts; (II) Continuance of
                   Existing Cash Management System, Bank Accounts, Checks and Related Forms;
                   (III) Continued Performance of Intercompany Transactions; (IV) Limited Waiver
                   of Section 345(b) Deposit and Investment Requirements and (V) Granting Related
                   Relief [Docket No. 6] (the “Cash Management Motion”) and any orders of the
                   Bankruptcy Court granting the Cash Management Motion. As described therein,
                   the Debtors utilize a centralized cash management system.

                   Additionally, the Bankruptcy Court, pursuant to the Interim Order (A) Approving
                   the Debtors’ Proposed Adequate Assurance of Payment for Future Utility Services,
                   (B) Prohibiting Utility Companies from Altering, Refusing, or Discontinuing
                   Services, (C) Approving the Debtors’ Proposed Procedures for Resolving Adequate
                   Assurance Requests, and (D) Granting Related Relief [Docket No. 69], has


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                   authorized the Debtors to provide adequate assurance of payment for future utility
                   services. Such deposits are not listed on Schedule A/B, Part 2, which has been
                   prepared as of the Petition Date.

        b.         Schedule A/B, Part 3 – Accounts Receivable. Certain intercompany charges,
                   although billed on bi-weekly or monthly basis may not have been paid by the
                   respective entity when billed. These amounts have been included in the
                   Intercompany Accounts Receivable or Intercompany Accounts Payable.

        c.         Schedule A/B, Part 4 - Investments; Non-Publicly Traded Stock and Interests
                   in Incorporated and Unincorporated Businesses, including any Interest in an
                   LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries have
                   been listed in Schedule A/B, Part 4, as undetermined amounts on account of the
                   fact that the fair market value of such ownership is dependent on numerous
                   variables and factors, and may differ significantly from their net book value.

        d.         Schedule A/B, Part 7 - Office Furniture, Fixtures, and Equipment; and
                   Collectibles. Dollar amounts are presented net of accumulated depreciation and
                   other adjustments.

        e.         Schedule A/B, Part 11 - All Other Assets. Dollar amounts are presented net of
                   impairments and other adjustments.

                   Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
                   including Counterclaims of the Debtor and Rights to Setoff Claims. In the
                   ordinary course of their businesses, the Debtors may have accrued, or may
                   subsequently accrue, certain rights to counter-claims, cross-claims, setoffs, or
                   refunds with their customers and suppliers. Additionally, certain of the Debtors
                   may be party to pending litigation in which the Debtors have asserted, or may
                   assert, claims as a plaintiff or counter-claims and/or cross-claims as a defendant.
                   Because certain of these claims are unknown to the Debtors and not quantifiable as
                   of the Petition Date, they may not be listed on Schedule A/B, Part 11.

        f.         Schedule D - Creditors Who Have Claims Secured by Property. Except as
                   otherwise agreed pursuant to the Interim Order (I) Authorizing CA Debtors to (A)
                   Obtain Postpetition Financing, (B) Grant Senior Secured Liens and Superpriority
                   Administrative Expense Claims, and (C) Utilize Cash Collateral; (II) Granting
                   Adequate Protection Prepetition Secured Parties; (III) Modifying Automatic Stay;
                   (IV) Scheduling Final Hearing; and (V) Granting Related Relief [Docket No. 74]
                   (the “Interim CA Cash Collateral Order”), the Interim Order (I) Authorizing
                   CarbonLite Recycling LLC and CarbonLite Recycling Holdings LLC to Obtain
                   Senior Secured Superpriority Postpetition Financing; (II) Granting (A) Liens and
                   Superpriority Administrative Expense Claims, and (B) Adequate Protection to the
                   Prepetition Secured Parties; (III) Authorizing the Use of Cash Collateral; (IV)
                   Modifying the Automatic Stay; (V) Scheduling a Final Hearing; and (VI) Granting
                   Related Relief [Docket No. 90] (the “Interim TX Cash Collateral Order”), the
                   Interim Order (I) Authorizing CarbonLite P, LLC and CarbonLite P Holdings LLC


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                   to Obtain Senior Secured Superpriority Postpetition Financing; (II) Granting (A)
                   Liens and Superpriority Administrative Expense Claims, and (B) Adequate
                   Protection to the Prepetition Secured Parties; (III) Authorizing the Use of Cash
                   Collateral; (IV) Modifying the Automatic Stay; (V) Scheduling a Final Hearing;
                   and (VI) Granting Related Relief [Docket No. 91] (the “Interim PA Cash Collateral
                   Order”) or other stipulation or order entered by the Bankruptcy Court, the Debtors
                   reserve their rights to dispute or challenge the validity, perfection, or immunity
                   from avoidance of any lien purported to be granted or perfected in any specific asset
                   to a secured creditor listed on Schedule D. Moreover, although the Debtors have
                   scheduled claims of various creditors as secured claims, the Debtors reserve all
                   rights to dispute or challenge the secured nature of any such creditor’s claim or the
                   characterization of the structure of any such transaction or any document or
                   instrument related to such creditor’s claim.

                   The descriptions provided in Schedule D are intended only to be a summary.
                   Reference to the applicable agreements and other related relevant documents is
                   necessary for a complete description of the collateral and the nature, extent, and
                   priority of any liens. In certain instances, a Debtor may be a co-obligor, co-
                   mortgagor, or guarantor with respect to scheduled claims of other Debtors, and no
                   claim set forth on Schedule D of any Debtor is intended to acknowledge claims of
                   creditors that are otherwise satisfied or discharged by other entities.

                   The Debtors have not included on Schedule D parties that may believe their claims
                   are secured through setoff rights or inchoate statutory lien rights. Although there
                   are multiple parties that hold a portion of the debt included in the secured facilities,
                   only the administrative agents have been listed for purposes of Schedule D.

        g.         Schedule E/F - Creditors Who Have Unsecured Claims.

                   Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Order
                   Authorizing the Payment of Prepetition Sales, Use and Franchise Taxes and
                   Similar Taxes and Fees [Docket No. 68] (the “Taxes Order”), the Debtors have
                   been granted the authority to pay, in their discretion, certain tax liabilities,
                   employee compensation, and employee benefits that accrued prepetition.

                   Furthermore, pursuant to the Interim Order Authorizing the Debtors to (I) Pay
                   and/or Honor Prepetition Employee Obligations and Pay Third Party and Contract
                   Workers; (II) Remit Withholding Obligations and Deductions; (III) Maintain
                   Employee Compensation and Benefits Programs and Pay Related Administrative
                   Obligations; and (IV) Have Applicable Banks and Other Financial Institutions
                   Receive, Process, Honor, and Pay Certain Checks Presented for Payment and
                   Honor Certain Fund Transfer Requests [Docket No. 67], the Debtors received
                   interim authority to pay certain prepetition obligations, including to pay employee
                   wages and other employee benefits, in the ordinary course of business.

                   The listing of a claim on Schedule E/F, Part 1, does not constitute an admission by
                   the Debtors that such claim or any portion thereof is entitled to priority status.


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                   Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
                   in Schedule E/F, Part 2, are derived from the Debtors’ books and records. The
                   Debtors made a reasonable attempt to set forth their unsecured obligations,
                   although the actual amount of claims against the Debtors may vary from those
                   liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect
                   the correct amount of any unsecured creditor’s allowed claims or the correct
                   amount of all unsecured claims.

                   Schedule E/F, Part 2 reflects liabilities based on each individual Debtors’ books
                   and records. All of the known Schedule E/F, Part 2 liabilities as of the Petition
                   Date are listed on Schedule E/F, Part 2.

                   Schedule E/F, Part 2, contains information regarding threatened or pending
                   litigation involving the Debtors. The amounts for these potential claims are listed
                   as “unknown” and are marked as contingent, unliquidated, and disputed in the
                   Schedules and Statements.

                   Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
                   to executory contracts and unexpired leases. Such prepetition amounts, however,
                   may be paid in connection with the assumption or assumption and assignment of
                   an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
                   not include claims that may arise in connection with the rejection of any executory
                   contracts or unexpired leases

                   As of the time of filing of the Schedules and Statements, the Debtors may not have
                   received all invoices for payables, expenses, and other liabilities that may have
                   accrued prior to the Petition Date. Accordingly, the information contained in
                   Schedules D and E/F may be incomplete. The Debtors reserve their rights to amend
                   Schedules D and E/F if and as they receive such invoices.

        h.         Schedule G - Executory Contracts and Unexpired Leases. While reasonable
                   efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
                   omissions may have occurred.

                   Listing a contract or agreement on Schedule G does not constitute an admission
                   that such contract or agreement is an executory contract or unexpired lease or that
                   such contract or agreement was in effect on the Petition Date or is valid or
                   enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
                   status, or enforceability of any contracts, agreements, or leases set forth in Schedule
                   G and to amend or supplement such Schedule as necessary. Certain of the leases
                   and contracts listed on Schedule G may contain renewal options, guarantees of
                   payment, indemnifications, options to purchase, rights of first refusal, and other
                   miscellaneous rights. Such rights, powers, duties, and obligations are not set forth
                   separately on Schedule G. In addition, the Debtors may have entered into various
                   other types of agreements in the ordinary course of their business, such as
                   supplemental agreements, amendments, and letter agreements, which documents
                   may not be set forth in Schedule G.


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                   Certain of the agreements listed on Schedule G may have expired or terminated
                   pursuant to their terms, but are listed on Schedule G in an abundance of caution.

                   The Debtors reserve all rights to dispute or challenge the characterization of any
                   transaction or any document or instrument related to a creditor’s claim.

                   In some cases, the same supplier or provider may appear multiple times in an
                   individual Debtor’s Schedule G. Multiple listings, if any, reflect distinct
                   agreements between the applicable Debtor and such supplier or provider. In
                   addition, in some cases, an agreement may appear on the Schedule G of more than
                   one Debtor, in which event each such Debtor is party to said agreement.

                   Certain agreements may, by their terms, have been made between one Debtor and
                   a third-party counterparty but performed under in the ordinary course by a different
                   Debtor. In such case, the agreement is listed in the Schedule G of the Debtor that
                   appears on the face of such agreement. Omission of such agreement from the
                   Schedule G of another Debtor does not constitute an admission that such Debtor
                   does not have rights and/or obligations under such agreement or that the Debtor
                   counterparty to such agreement is the Debtor on whose Schedule G such agreement
                   is listed.

                   The listing of any contract on Schedule G does not constitute an admission by the
                   Debtors as to the validity of any such contract. The Debtors reserve the right to
                   dispute the effectiveness of any such contract listed on Schedule G or to amend
                   Schedule G at any time to remove any contract.

                   Omission of a contract or agreement from Schedule G does not constitute an
                   admission that such omitted contract or agreement is not an executory contract or
                   unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
                   any such omitted contracts or agreements are not impaired by the omission.

                   Certain agreements listed on Schedule G for PinnPack Packaging LLC
                   (“PinnPack”) have been redacted. Each of these agreements are proprietary supply
                   agreements that are central to the value of PinnPack’s estate. Accordingly, the
                   Debtors have not included the names of the counterparties to such agreements.

6.      Specific Statements Disclosures.

        a.         Statements, Part 2, Question 6 - Setoffs. For a discussion of setoffs and nettings
                   incurred by the Debtors, refer to paragraph 4(p) of these Global Notes.

        b.         Statements, Part 2, Question 4 and Part 13, Question 30 - Payments,
                   Distributions, or Withdrawals Credited or Given to Insiders. Distributions by
                   the Debtors to their directors and officers are listed on the attachment to Question
                   4. Certain of the Debtors’ directors and executive officers received distributions
                   net of tax withholdings in the year preceding the Petition Date. The amounts listed
                   under Questions 4 and 30 reflect the gross amounts paid to such directors and
                   executive officers, rather than the net amounts after deducting for tax withholdings.

                                                    10
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                   Certain of the Debtors’ Insiders perform corporate services for some or all of the
                   Debtors, whom receive their paychecks from CarbonLite Industries with
                   proportionate shares of compensation reimbursed by the other Debtors. The
                   proportionate shares have been included in the Intercompany Accounts Receivable
                   or Intercompany Accounts Payable elsewhere in the Schedules and are not reflected
                   in Question 4.

                   Some of the Insiders also are employed by non-debtor HPC Industries, LLC
                   (“HPC”), which is owned by Leon Farahnik, the Debtors’ Chief Executive Officer.
                   These employees render enterprise-wide services and HPC is then reimbursed
                   proportionately by the Debtors. These reimbursements are not reflected in
                   Question 4. However, the proportionate shares have been included in the
                   Intercompany Accounts Receivable or Intercompany Accounts Payable elsewhere
                   in the Schedules.




                                                   11
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 Fill in this information to identify the case:

 Debtor name: CarbonLite Holdings LLC

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                        Check if this is an
 Case number: 21-10527
                                                                                                                        amended ling


O cial Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 1. Schedule A/B: Assets - Real and Personal Property (O cial Form 206A/B)
  1a. Real property:                                                                                                                $0.00
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                                                   $207.07
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                                                     $207.07
          Copy line 92 from Schedule A/B


 2. Schedule D: Creditors Who Have Claims Secured by Property (O cial Form 206D)                                          $99,368,582.32
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (O cial Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                                                             $0.00
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                                                      $718,351.10
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                                    $100,086,933.42
 Lines 2 + 3a + 3b
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   Fill in this information to identify the case:

   Debtor name: CarbonLite Holdings LLC

   United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                         Check if this is an
   Case number: 21-10527
                                                                                                                                                         amended ling


 O cial Form 206A/B
 Schedule A/B: Assets — Real and Personal Property 12/15
  Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
  debtor holds rights and powers exercisable for the debtor's own bene t. Also include assets and properties which have no book value, such as fully depreciated assets
  or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
  Leases (O cial Form 206G).
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
  number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
  attachment in the total for the pertinent part.
  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a xed asset schedule or depreciation
  schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
  claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and Cash Equivalents

1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.

       Yes. Fill in the information below.

  All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of debtor’s interest

 2. Cash on hand

 2.1
                                                                                                                                                                        $0.00

 3. Checking, savings, money market, or nancial brokerage accounts (Identify all)
 Name of institution (bank or brokerage rm)                           Type of account                    Last 4 digits of account #


 3.1
           Bank Leumi                                                       Checking                     7201                                                          $87.92

 3.2
           Bank Leumi                                                       Checking                     9301                                                           $0.72

 3.3
           Paci c Western Bank                                              Depository/                  2405                                                        $118.43
                                                                            Disbursement Account

 4. Other cash equivalents (Identify all)
 4.1
                                                                                                                                                                        $0.00

 5. Total of Part 1
 Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                                                    $207.07
Debtor     CarbonLite Holdings LLC__________________________________________________                    Case number (if known) 21-10527________________________________________
           Name
                                        Case 21-10527-JTD                      Doc 183          Filed 04/05/21             Page 15 of 35
  Part 2:     Deposits and prepayments

  6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.

        Yes. Fill in the information below.


                                                                                                                                              Current value of debtor’s interest
  7. Deposits, including security deposits and utility deposits
  Description, including name of holder of deposit


  7.1
                                                                                                                                                                             $0.00

  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
  Description, including name of holder of prepayment


  8.1
                                                                                                                                                                             $0.00

  9. Total of Part 2
  Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                                            $0.00


  Part 3:     Accounts receivable

  10. Does the debtor have any accounts receivable?

        No. Go to Part 4.

        Yes. Fill in the information below.

                                                                                                                                              Current value of debtor’s interest
  11. Accounts receivable
  11a.      90 days old or                                                 —                                                 = ........                                     $0.00
            less:
                                     face amount                                doubtful or uncollectible accounts

  11b.      Over 90 days old:                                              —                                                 = ........                                     $0.00
                                     face amount                                doubtful or uncollectible accounts

  12. Total of Part 3
  Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                                            $0.00


  Part 4:     Investments

  13. Does the debtor own any investments?

        No. Go to Part 5.

        Yes. Fill in the information below.


                                                                                                 Valuation method used for current            Current value of debtor’s interest
                                                                                                 value
  14. Mutual funds or publicly traded stocks not included in Part 1
  Name of fund or stock:


  14.1
                                                                                                                                                                             $0.00
Debtor     CarbonLite Holdings LLC__________________________________________________              Case number (if known) 21-10527________________________________________
           Name
                                       Case 21-10527-JTD                  Doc 183          Filed 04/05/21            Page 16 of 35
  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
  partnership, or joint venture
  Name of entity:                                           % of ownership:


  15.1
               CarbonLite Sub-Holdings, LLC                  100%                                                                     Unknown

  16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
  Describe:


  16.1
                                                                                                                                                                      $0.00

  17. Total of Part 4
  Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                                     $0.00


  Part 5:       Inventory, excluding agriculture assets

  18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.

     Yes. Fill in the information below.

   General description                                        Date of        Net book value of            Valuation method used        Current value of debtor’s interest
                                                              the last       debtor's interest            for current value
                                                              physical       (Where available)
                                                              inventory
  19. Raw materials
  19.1
                                                                                                                                                                      $0.00

  20. Work in progress
  20.1
                                                                                                                                                                      $0.00

  21. Finished goods, including goods held for resale
  21.1
                                                                                                                                                                      $0.00

  22. Other inventory or supplies
  22.1
                                                                                                                                                                      $0.00

  23. Total of Part 5
  Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                                                     $0.00


  24. Is any of the property listed in Part 5 perishable?

     No

     Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was led?

         No
                       Book value                                 Valuation method                                         Current value
         Yes

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

     No

     Yes
Debtor     CarbonLite Holdings LLC__________________________________________________              Case number (if known) 21-10527________________________________________
           Name
                                       Case 21-10527-JTD                   Doc 183         Filed 04/05/21            Page 17 of 35
  Part 6:      Farming and shing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and shing-related assets (other than titled motor vehicles and land)?

     No. Go to Part 7.

     Yes. Fill in the information below.


   General description                                                        Net book value of           Valuation method used       Current value of debtor’s interest
                                                                              debtor's interest           for current value
                                                                              (Where available)
  28. Crops—either planted or harvested
  28.1
                                                                                                                                                                     $0.00

  29. Farm animals Examples: Livestock, poultry, farm-raised sh
  29.1
                                                                                                                                                                     $0.00

  30. Farm machinery and equipment (Other than titled motor vehicles)
  30.1
                                                                                                                                                                     $0.00

  31. Farm and shing supplies, chemicals, and feed
  31.1
                                                                                                                                                                     $0.00

  32. Other farming and shing-related property not already listed in Part 6
  32.1
                                                                                                                                                                     $0.00

  33. Total of Part 6
  Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                                    $0.00


  34. Is the debtor a member of an agricultural cooperative?

         No

         Yes. Is any of the debtor’s property stored at the cooperative?

                        No

                        Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was led?

         No
                   Book value                                      Valuation method                                      Current value
         Yes

  36. Is a depreciation schedule available for any of the property listed in Part 6?

     No

     Yes

  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No

     Yes
Debtor    CarbonLite Holdings LLC__________________________________________________                          Case number (if known) 21-10527________________________________________
          Name
                                         Case 21-10527-JTD                        Doc 183            Filed 04/05/21                 Page 18 of 35
  Part 7:    O ce furniture, xtures, and equipment; and collectibles

  38. Does the debtor own or lease any o ce furniture, xtures, equipment, or collectibles?

     No. Go to Part 8.

     Yes. Fill in the information below.

   General description                                                               Net book value of                Valuation method used            Current value of debtor’s interest
                                                                                     debtor's interest                for current value
                                                                                     (Where available)
  39. O ce furniture
  39.1
                                                                                                                                                                                          $0.00

  40. O ce xtures
  40.1
                                                                                                                                                                                          $0.00

  41. O ce equipment, including all computer equipment and communication systems equipment and software
  41.1
                                                                                                                                                                                          $0.00

  42. Collectibles Examples: Antiques and gurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections; other
  collections, memorabilia, or collectibles

  42.1
                                                                                                                                                                                          $0.00

  43. Total of Part 7
  Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                                                         $0.00


  44. Is a depreciation schedule available for any of the property listed in Part 7?

     No

     Yes

  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No

     Yes

  Part 8:    Machinery, equipment, and vehicles

  46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.

     Yes. Fill in the information below.

   General description                                                               Net book value of                Valuation method used            Current value of debtor’s interest
   Include year, make, model, and identi cation numbers (i.e., VIN,                  debtor's interest                for current value
   HIN, or N-number)                                                                 (Where available)
  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
  47.1
                                                                                                                                                                                          $0.00

  48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, oating homes, personal watercraft, and shing vessels
  48.1
                                                                                                                                                                                          $0.00
Debtor    CarbonLite Holdings LLC__________________________________________________                  Case number (if known) 21-10527________________________________________
          Name
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  49. Aircraft and accessories
  49.1
                                                                                                                                                                           $0.00

  50. Other machinery, xtures, and equipment (excluding farm machinery and equipment)
  50.1
                                                                                                                                                                           $0.00

  51. Total of Part 8.
  Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                                                      $0.00


  52. Is a depreciation schedule available for any of the property listed in Part 8?

     No

     Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     No

     Yes

  Part 9:    Real Property

  54. Does the debtor own or lease any real property?

     No. Go to Part 10.

     Yes. Fill in the information below.

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
   Description and location of property                         Nature and extent of          Net book value of           Valuation method used        Current value of
   Include street address or other description such as          debtor’s interest in          debtor's interest           for current value            debtor’s interest
   Assessor Parcel Number (APN), and type of property           property                      (Where available)
   (for example, acreage, factory, warehouse,
   apartment or o ce building), if available.

  55.1
                                                                                                                                                                           $0.00

  56. Total of Part 9.
  Add the current value of all lines in question 55 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                                                      $0.00


  57. Is a depreciation schedule available for any of the property listed in Part 9?

     No

     Yes

  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

     No

     Yes

  Part 10:       Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.

     Yes. Fill in the information below.
Debtor    CarbonLite Holdings LLC__________________________________________________                Case number (if known) 21-10527________________________________________
          Name
                                      Case 21-10527-JTD                      Doc 183        Filed 04/05/21             Page 20 of 35

   General description                                                        Net book value of            Valuation method used       Current value of debtor’s interest
                                                                              debtor's interest            for current value
                                                                              (Where available)
  60. Patents, copyrights, trademarks, and trade secrets
  60.1
           Carbonlite STANDARD CHARACTER MARK Serial No                                       $0.00       Unknown                      Unknown
           77983377, Reg No 4242388

  60.2
           Carbonlite STANDARD CHARACTER MARK Serial No                                       $0.00       Unknown                      Unknown
           85915809, Reg No 4492569


  60.3
           WE EAT PLASTIC FOR BREAKFAST Class 025 for “clothing,                              $0.00       Unknown                      Unknown
           namely sweaters, shirts, pants, jackets, hats” and Class 35 for
           “Advertising, marketing and public relations”. Serial No
           88606439

  61. Internet domain names and websites
  61.1
           www.carbonliterecycling.com                                                        $0.00       Net Book Value                                              $0.00

  62. Licenses, franchises, and royalties
  62.1
                                                                                                                                                                      $0.00

  63. Customer lists, mailing lists, or other compilations
  63.1
                                                                                                                                                                      $0.00

  64. Other intangibles, or intellectual property
  64.1
                                                                                                                                                                      $0.00

  65. Goodwill
  65.1
                                                                                                                                                                      $0.00

  66. Total of Part 10.
  Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                                                     $0.00


  67. Do your lists or records include personally identi able information of customers (as de ned in 11 U.S.C. §§ 101(41A) and 107)?

     No

     Yes

  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

     No

     Yes

  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

     No

     Yes
Debtor   CarbonLite Holdings LLC__________________________________________________                  Case number (if known) 21-10527________________________________________
         Name
                                        Case 21-10527-JTD                 Doc 183           Filed 04/05/21             Page 21 of 35
  Part 11:      All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
  Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.

     Yes. Fill in the information below.

                                                                                                                                        Current value of debtor’s interest
  71. Notes receivable
  Description (include name of obligor)
  71.1
                                                                                                                         =                                            $0.00
                                                                                       -
                                               total face amount                           doubtful or uncollectible
                                                                                           amount

  72. Tax refunds and unused net operating losses (NOLs)
  Description (for example, federal, state, local)
  72.1
                                                                                                    Tax year                                                           $0.00

  73. Interests in insurance policies or annuities
  73.1
             Interest in insurance policies                                                                                            Unknown

  74. Causes of action against third parties (whether or not a lawsuit has been led)
  74.1
                                                                                                                                                                       $0.00
  Nature of Claim

  Amount requested

  75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
  75.1
                                                                                                                                                                       $0.00
  Nature of Claim

  Amount requested

  76. Trusts, equitable or future interests in property
  76.1
                                                                                                                                                                       $0.00

  77. Other property of any kind not already listed Examples: Season tickets, country club membership
  77.1
             Amounts due from CarbonLite Industries LLC                                                                                To be determined. Subject to
                                                                                                                                       reconciliation.


  77.2
             Amounts due from CarbonLite P Holdings, LLC                                                                               To be determined. Subject to
                                                                                                                                       reconciliation.

  77.3
             Amounts due from CarbonLite P, LLC                                                                                        To be determined. Subject to
                                                                                                                                       reconciliation.

  77.4
             Amounts due from CarbonLite PI Holdings, LLC                                                                              To be determined. Subject to
                                                                                                                                       reconciliation.


  77.5
             Amounts due from CarbonLite Pinnpack, LLC                                                                                 To be determined. Subject to
                                                                                                                                       reconciliation.
Debtor     CarbonLite Holdings LLC__________________________________________________                Case number (if known) 21-10527________________________________________
           Name
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  77.6
             Amounts due from CarbonLite Recycling Holdings LLC                                                                        To be determined. Subject to
                                                                                                                                       reconciliation.

  77.7
             Amounts due from CarbonLite Recycling LLC                                                                                 To be determined. Subject to
                                                                                                                                       reconciliation.


  77.8
             Amounts due from CarbonLite Sub-Holdings, LLC                                                                             To be determined. Subject to
                                                                                                                                       reconciliation.

  77.9
             Amounts due from Pinnpack P, LLC                                                                                          To be determined. Subject to
                                                                                                                                       reconciliation.


  77.10
             Amounts due from Pinnpack Packaging, LLC                                                                                  To be determined. Subject to
                                                                                                                                       reconciliation.

  78. Total of Part 11.
  Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                                      $0.00


  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

      No

      Yes

  Part 12:        Summary

    In Part 12 copy all of the totals from the earlier parts of the form.

   Type of property                                                            Current value of             Current value of real
                                                                               personal property            property

  80. Cash, cash equivalents, and nancial assets. Copy line 5, Part 1.                     $207.07

  81. Deposits and prepayments. Copy line 9, Part 2.                                          $0.00


  82. Accounts receivable. Copy line 12, Part 3.                                              $0.00

  83. Investments. Copy line 17, Part 4.                                                      $0.00


  84. Inventory. Copy line 23, Part 5.                                                        $0.00

  85. Farming and shing-related assets. Copy line 33, Part 6.                                 $0.00


  86. O ce furniture, xtures, and equipment; and collectibles. Copy                           $0.00
  line 43, Part 7.

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                               $0.00

  88. Real property. Copy line 56, Part 9.                                                                                 $0.00


  89. Intangibles and intellectual property.. Copy line 66, Part 10.                          $0.00

  90. All other assets. Copy line 78, Part 11.                                                $0.00


  91. Total. Add lines 80 through 90 for each column                   91a.                                             91b.
                                                                                          $207.07                                                         $0.00


  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                                                  $207.07
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  Fill in this information to identify the case:

  Debtor name: CarbonLite Holdings LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                           Check if this is an
  Case number: 21-10527
                                                                                                                                                           amended ling


O cial Form 206D
Schedule D: Creditors Who Have Claims Secured by Property
Be as complete and accurate as possible.

Part 1:     List Creditors Who Have Claims Secured by Property

1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor`s other schedules. Debtor has nothing else to report on this form.

      Yes. Fill in the information below.

2. List creditors who have secured claims.If a creditor has more than one secured claim, list the creditor   Column A                             Column B
separately for each claim.
                                                                                                             Amount of Claim                      Value of collateral that
                                                                                                             Do not deduct the value of           supports this claim
                                                                                                             collateral.

2.1
                                                        Describe debtor's property that is subject to                     $99,368,582.32      Unknown
              Orion Energy Partners                     the lien:
              Investment Agent, LLC                     All assets of the Debtor
              292 Madison Ave
              Suite 2500                                Describe the lien
              New York, NY 10017                        Prepetition Term Credit Agreement
                                                        Is the creditor an insider or related party?
           Date debt was incurred?
                                                           No
           8/2/2019

           Last 4 digits of account number                 Yes
                                                        Is anyone else liable on this claim?
           Do multiple creditors have an interest          No
           in the same property?
                                                           Yes. Fill out Schedule H: Codebtors(O cial
               No
                                                       Form 206H)
               Yes. Specify each creditor, including    As of the petition ling date, the claim is:
          this creditor, and its relative priority.     Check all that apply.
                                                             Contingent

                                                             Unliquidated

                                                             Disputed


3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  $99,368,582.32
Page, if any.
Debtor   CarbonLite Holdings LLC__________________________________________________               Case number (if known) 21-10527________________________________________
         Name
                                       Case 21-10527-JTD                  Doc 183          Filed 04/05/21             Page 24 of 35
  Part 2:   List Others to Be Noti ed for a Debt That You Already Listed

  List in alphabetical order any others who must be noti ed for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
  claims listed above, and attorneys for secured creditors.
  If no others need to be noti ed for the debts listed in Part 1, do not ll out or submit this page. If additional pages are needed, copy this page.
   Name and address                                                                        On which line in Part 1 did you enter       Last 4 digits of account number for
                                                                                           the related creditor?                       this entity

  3.1
                                                                                          2.1
                Orion Energy Partners Investment Agent, LLC as Collateral Agent
                c/o Latham & Watkins LLP
                Attn: Jeff Bjork
                355 South Grand Avenue
                Suite 100
                Los Angeles, CA 90067-3104
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  Fill in this information to identify the case:

  Debtor name: CarbonLite Holdings LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                               Check if this is an
  Case number: 21-10527
                                                                                                                                                               amended ling


O cial Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal
Property (O cial Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (O cial Form 206G). Number the entries in Parts 1 and 2 in the boxes
on the left. If more space is needed for Part 1 or Part 2, ll out and attach the Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

      No. Go to Part 2.

      Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority unsecured
claims, ll out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

2.1
                                                                         As of the petition ling date, the claim is:                                                           $0.00
                                                                         Check all that apply.
           Date or dates debt was incurred
                                                                              Contingent

                                                                              Unliquidated
           Last 4 digits of account number
                                                                              Disputed
           Specify Code subsection of PRIORITY unsecured                 Basis for the claim:
           claim:
           11 U.S.C. § 507(a) ( )
                                                                         Is the claim subject to offset?
                                                                             No

                                                                             Yes
Debtor   CarbonLite Holdings LLC__________________________________________________                      Case number (if known) 21-10527________________________________________
         Name
                                       Case 21-10527-JTD                      Doc 183            Filed 04/05/21               Page 26 of 35
  Part 2:   List All Creditors with NONPRIORITY Unsecured Claims

  3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, ll out and attach the
  Additional Page of Part 2.

                                                                                                                                                                 Amount of claim

  3.1
                                                                                              As of the petition ling date, the claim is:                       Unknown
                CarbonLite Industries LLC                                                     Check all that apply.
                875 Michigan Ave.
                                                                                                   Contingent
                Riverside, CA 92507
                                                                                                   Unliquidated
            Date or dates debt was incurred
                                                                                                   Disputed
            Various
                                                                                              Basis for the claim:
                                                                                              Intercompany Claim
                                                                                              Is the claim subject to offset?
                                                                                                  No

                                                                                                  Yes

  3.2
                                                                                              As of the petition ling date, the claim is:                       Unknown
                CarbonLite P Holdings, LLC                                                    Check all that apply.
                10250 Constellation Blvd
                                                                                                   Contingent
                Los Angeles, CA 90067
                                                                                                   Unliquidated
            Date or dates debt was incurred
            Various                                                                                Disputed
                                                                                              Basis for the claim:
                                                                                              Intercompany Claim
                                                                                              Is the claim subject to offset?
                                                                                                  No

                                                                                                  Yes

  3.3
                                                                                              As of the petition ling date, the claim is:                       Unknown
                CarbonLite P, LLC                                                             Check all that apply.
                4030 Pottsville Pike
                                                                                                   Contingent
                Reading, PA 19605
                                                                                                   Unliquidated
            Date or dates debt was incurred
            Various                                                                                Disputed

                                                                                              Basis for the claim:
                                                                                              Intercompany Claim

                                                                                              Is the claim subject to offset?
                                                                                                  No

                                                                                                  Yes
Debtor   CarbonLite Holdings LLC__________________________________________________         Case number (if known) 21-10527________________________________________
         Name
                                      Case 21-10527-JTD             Doc 183          Filed 04/05/21            Page 27 of 35

  3.4
                                                                                 As of the petition ling date, the claim is:                Unknown
                CarbonLite PI Holdings, LLC                                      Check all that apply.
                10250 Constellation Blvd
                                                                                      Contingent
                Los Angeles, CA 90067
                                                                                      Unliquidated
           Date or dates debt was incurred
           Various                                                                    Disputed
                                                                                 Basis for the claim:
                                                                                 Intercompany Claim
                                                                                 Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.5
                                                                                 As of the petition ling date, the claim is:                Unknown
                CarbonLite Pinnpack, LLC                                         Check all that apply.
                10250 Constellation Blvd
                                                                                      Contingent
                Los Angeles, CA 90067
                                                                                      Unliquidated
           Date or dates debt was incurred
           Various                                                                    Disputed
                                                                                 Basis for the claim:
                                                                                 Intercompany Claim

                                                                                 Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.6
                                                                                 As of the petition ling date, the claim is:                Unknown
                CarbonLite Recycling Holdings LLC                                Check all that apply.
                10250 Constellation Blvd
                                                                                      Contingent
                Los Angeles, CA 90067
                                                                                      Unliquidated
           Date or dates debt was incurred
                                                                                      Disputed
           Various
                                                                                 Basis for the claim:
                                                                                 Intercompany Claim

                                                                                 Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.7
                                                                                 As of the petition ling date, the claim is:                Unknown
                CarbonLite Recycling LLC                                         Check all that apply.
                4685 Mountain Creek Parkway
                                                                                      Contingent
                Dallas, TX 75236
                                                                                      Unliquidated
           Date or dates debt was incurred
           Various                                                                    Disputed
                                                                                 Basis for the claim:
                                                                                 Intercompany Claim

                                                                                 Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor   CarbonLite Holdings LLC__________________________________________________         Case number (if known) 21-10527________________________________________
         Name
                                        Case 21-10527-JTD           Doc 183          Filed 04/05/21            Page 28 of 35

  3.8
                                                                                 As of the petition ling date, the claim is:                Unknown
                CarbonLite Sub-Holdings, LLC                                     Check all that apply.
                10250 Constellation Blvd
                                                                                      Contingent
                Los Angeles, CA 90067
                                                                                      Unliquidated
           Date or dates debt was incurred
                                                                                      Disputed
           Various
                                                                                 Basis for the claim:
                                                                                 Intercompany Claim

                                                                                 Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.9
                                                                                 As of the petition ling date, the claim is:                          $575,349.71
                Cigna Health and Life Insurance Company                          Check all that apply.
                400 N. Brand Blvd., 3rd Floor
                                                                                      Contingent
                Glendale, CA 91203
                                                                                      Unliquidated
           Date or dates debt was incurred
                                                                                      Disputed

                                                                                 Basis for the claim:
                                                                                 Health Insurance
                                                                                 Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.10
                                                                                 As of the petition ling date, the claim is:                           $38,250.00
                Guardian Life Insurance Company                                  Check all that apply.
                PO Box 824454
                                                                                      Contingent
                Philadelphia, PA 19182-4454
                                                                                      Unliquidated
           Date or dates debt was incurred
                                                                                      Disputed
                                                                                 Basis for the claim:
                                                                                 Employee Bene ts

                                                                                 Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.11
                                                                                 As of the petition ling date, the claim is:                           $50,000.00
                Jeffery Advisors, LLC                                            Check all that apply.
                514 North Street
                                                                                      Contingent
                Greenwich, CT 06830
                                                                                      Unliquidated
           Date or dates debt was incurred
                                                                                      Disputed

                                                                                 Basis for the claim:
                                                                                 Board of Directors Compensation

                                                                                 Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor   CarbonLite Holdings LLC__________________________________________________         Case number (if known) 21-10527________________________________________
         Name
                                        Case 21-10527-JTD           Doc 183          Filed 04/05/21            Page 29 of 35

  3.12
                                                                                 As of the petition ling date, the claim is:                Unknown
                Luckey Logistics, LLC                                            Check all that apply.
                James Kelly Law Firm
                                                                                      Contingent
                James M. Kelly
                7817 Knoxville Ave.                                                   Unliquidated
                Peoria, IL 61614
                                                                                      Disputed
           Date or dates debt was incurred
                                                                                 Basis for the claim:
                                                                                 Litigation

                                                                                 Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.13
                                                                                 As of the petition ling date, the claim is:                               $99.00
                National Registered Agents, Inc                                  Check all that apply.
                PO Box 4349
                                                                                      Contingent
                Carol Stream, IL 60197-4349
                                                                                      Unliquidated
           Date or dates debt was incurred
                                                                                      Disputed

                                                                                 Basis for the claim:
                                                                                 Services
                                                                                 Is the claim subject to offset?
                                                                                     No

                                                                                     Yes

  3.14
                                                                                 As of the petition ling date, the claim is:                           $40,387.49
                Novian and Novian, LLP                                           Check all that apply.
                1801 Century Park East, Suite 1201
                                                                                      Contingent
                Los Angeles, CA 90067
                                                                                      Unliquidated
           Date or dates debt was incurred
                                                                                      Disputed
                                                                                 Basis for the claim:
                                                                                 Legal

                                                                                 Is the claim subject to offset?
                                                                                     No

                                                                                     Yes


  3.15
                                                                                 As of the petition ling date, the claim is:                Unknown
                Pinnpack P, LLC                                                  Check all that apply.
                10250 Constellation Blvd
                                                                                      Contingent
                Los Angeles, CA 90067
                                                                                      Unliquidated
           Date or dates debt was incurred
                                                                                      Disputed
           Various
                                                                                 Basis for the claim:
                                                                                 Intercompany Claim

                                                                                 Is the claim subject to offset?
                                                                                     No

                                                                                     Yes
Debtor   CarbonLite Holdings LLC__________________________________________________                      Case number (if known) 21-10527________________________________________
         Name
                                        Case 21-10527-JTD                    Doc 183           Filed 04/05/21               Page 30 of 35

  3.16
                                                                                            As of the petition ling date, the claim is:                      Unknown
                Pinnpack Packaging, LLC                                                     Check all that apply.
                1151 Paci c Ave
                                                                                                 Contingent
                Oxnard, CA 93033
                                                                                                 Unliquidated
            Date or dates debt was incurred
            Various                                                                              Disputed
                                                                                            Basis for the claim:
                                                                                            Intercompany Claim

                                                                                            Is the claim subject to offset?
                                                                                                No

                                                                                                Yes

  3.17
                                                                                            As of the petition ling date, the claim is:                                  $14,264.90
                Reed Smith LLP                                                              Check all that apply.
                1901 Avenue of the Stars, Suite 700
                                                                                                 Contingent
                Los Angeles, CA 90067-6078
                                                                                                 Unliquidated
            Date or dates debt was incurred
                                                                                                 Disputed

                                                                                            Basis for the claim:
                                                                                            Legal Services

                                                                                            Is the claim subject to offset?
                                                                                                No

                                                                                                Yes

  Part 3:   List Others to Be Noti ed About Unsecured Claims

  4. List in alphabetical order any others who must be noti ed for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of claims
  listed above, and attorneys for unsecured creditors.

  If no others need to be noti ed for the debts listed in Parts 1 and 2, do not ll out or submit this page. If additional pages are needed, copy the next page.
   Name and mailing address                                                                     On which line in Part 1 or Part 2 is the related              Last 4 digits of
                                                                                                creditor (if any) listed?                                     account number, if any

  4.1
                                                                                               Line



                                                                                                      Not listed. Explain



  Part 4:   Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                              Total of claim amounts

  5a. Total claims from Part 1                                                                                                        5a.                                     $0.00
  5b. Total claims from Part 2                                                                                                        5b.                              $718,351.10
  5c. Total of Parts 1 and 2                                                                                                          5c.
                                                                                                                                                                      $718,351.10
  Lines 5a + 5b = 5c.
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  Fill in this information to identify the case:

  Debtor name: CarbonLite Holdings LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                      Check if this is an
  Case number: 21-10527
                                                                                                                                                      amended ling


O cial Form 206G
Schedule G: Executory Contracts and Unexpired Leases
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

Schedule G:    Executory Contracts and Unexpired Leases

1. Does the debtor have any executory contracts or unexpired leases?

   No. Check this box and le this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (O cial Form 206A/B).

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with whom the debtor
                                                                                         has an executory contract or unexpired lease

2.1     State what the contract        See Schedule G Attachment
        or lease is for and the
        nature of the debtor’s
        interest
        State the term
        remaining
        List the contract number
        of any government
        contract
                                                             Case 21-10527-JTD                        Doc  183 Filed 04/05/21
                                                                                                       SCHEDULE G ATTACHMENT
                                                                                                                                                    Page 32 of 35
                                                                                                  Executory Contracts and Unexpired Leases




             Description of Contract or   Remainder of
      ID                                                                      Contract ID                                 Notice Party's Name                     Address 1        Address 2       City      State     ZIP     Country
                       Lease               Term (Days)

    2.001    Customer Contract                635        Supply Agreement                                     Amcor Group GmbH a Switzerland Limited       Thurgauerstrasse 34                 Zurich                CH-8050 Switzerland
                                                                                                              Liability Company
    2.002    Life Insurance - Key Man        10,082      Policy No: 4539885                                   Guardian                                     10 Hudson                           New York       NY     10001
    2.003    Commission Agreement           Unknown                                                           Jason Farahnik DBA Loaned Earth Recycling    10250 Constellation Blvd Suite 2820 Los Angeles    CA     90067
    2.004    Employment Agreement           Unknown                                                           Shannon Smith
    2.005    Customer Contract              Unknown      Master Terms and Conditions                          The Coca-Cola Cross Enterprise Procurement   One Coca-Cola Plaza                 Atlanta        GA     30313
                                                                                                              Group
    2.006    Customer Contract               1,000       Letter of Understanding Dated 11/05/2019. Period -   The Coca-Cola Cross Enterprise Procurement   One Coca-Cola Plaza                 Atlanta        GA     30313
                                                         April-June to 31st December 2023                     Group
    2.007    Customer Contract               1,000       Letter of Understanding Dated 08/03/2020. Period     The Coca-Cola Cross Enterprise Procurement   One Coca-Cola Plaza                 Atlanta        GA     30313
                                                         01/01/2021 to 12/31/2023                             Group




In re: CarbonLite Holdings LLC
Case No. 21-10527                                                                                                                                                                                                               Page 1 of 1
                                        Case 21-10527-JTD                       Doc 183            Filed 04/05/21                 Page 33 of 35

  Fill in this information to identify the case:

  Debtor name: CarbonLite Holdings LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                        Check if this is an
  Case number: 21-10527
                                                                                                                                                                        amended ling


O cial Form 206H
Schedule H: Codebtors
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.

1. Does the debtor have any codebtors?

   No. Check this box and submit this form to the court with the debtor’s other schedules. Nothing else needs to be reported on this form.

   Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one
creditor, list each creditor separately in Column 2.

 Column 1: Codebtor                                                                                 Column 2: Creditor


 Name                              Mailing Address                                                  Name                                                              Check all schedules
                                                                                                                                                                      that apply:

2.1
CarbonLite Industries LLC                                                                          Luckey Logistics, LLC                                                   D
                                    CarbonLite Industries LLC
                                    875 Michigan Ave                                                                                                                       E/F
                                    Riverside, CA 92507
                                                                                                                                                                           G

2.2
CarbonLite Industries LLC                                                                          Orion Energy Partners Investment Agent, LLC as                          D
                                    CarbonLite Industries LLC                                      Collateral Agent
                                    875 Michigan Ave                                                                                                                       E/F
                                    Riverside, CA 92507
                                                                                                                                                                           G

2.3
CarbonLite PI Holdings,                                                                            Orion Energy Partners Investment Agent, LLC as                          D
LLC                                 CarbonLite PI Holdings, LLC                                    Collateral Agent
                                    10250 Constellation Blvd, Suite 2820                                                                                                   E/F
                                    Los Angeles, CA 90067
                                                                                                                                                                           G

2.4
CarbonLite Pinnpack, LLC                                                                           Orion Energy Partners Investment Agent, LLC as                          D
                                    CarbonLite Pinnpack, LLC                                       Collateral Agent
                                    10250 Constellation Blvd                                                                                                               E/F
                                    Suite 2820
                                    Los Angeles, CA 90067                                                                                                                  G
Debtor   CarbonLite Holdings LLC__________________________________________________          Case number (if known) 21-10527________________________________________
         Name
                                  Case 21-10527-JTD                   Doc 183        Filed 04/05/21            Page 34 of 35

  2.5
  CarbonLite Recycling LLC                                                           Luckey Logistics, LLC                                        D
                               CarbonLite Recycling LLC
                               4685 Mountain Creek Pkwy                                                                                           E/F
                               Dallas, TX 75236
                                                                                                                                                  G

  2.6
  CarbonLite Sub-Holdings,                                                           Orion Energy Partners Investment Agent, LLC as               D
  LLC                          CarbonLite Sub-Holdings, LLC                          Collateral Agent
                               10250 Constellation Blvd, Suite 2820                                                                               E/F
                               Los Angeles, CA 90067
                                                                                                                                                  G

  2.7
  Pinnpack Packaging, LLC                                                            Orion Energy Partners Investment Agent, LLC as               D
                               Pinnpack Packaging, LLC                               Collateral Agent
                               1151 Paci c Ave                                                                                                    E/F
                               Oxnard, CA 93033
                                                                                                                                                  G

  2.8
  Pinnpack P, LLC                                                                    Orion Energy Partners Investment Agent, LLC as               D
                               Pinnpack P, LLC                                       Collateral Agent
                               10250 Constellation Blvd, Suite 2820                                                                               E/F
                               Los Angeles, CA 90067
                                                                                                                                                  G
                                    Case 21-10527-JTD                        Doc 183   Filed 04/05/21              Page 35 of 35

  Fill in this information to identify the case:

  Debtor name: CarbonLite Holdings LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                   Check if this is an
  Case number: 21-10527
                                                                                                                                                   amended ling


O cial Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in nes up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  I am the president, another o cer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


       Schedule A/B: Assets–Real and Personal Property (O cial Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (O cial Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (O cial Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (O cial Form 206G)

       Schedule H: Codebtors (O cial Form 206H)

       Summary of Assets and Liabilities for Non-Individuals (O cial Form 206Sum)

       Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (O cial Form 204)

       Other document that requires a
  declaration

I declare under penalty of perjury that the foregoing is true and correct.

04/05/2021                                                                             /s/ Brian Weiss

Executed on                                                                            Signature of individual signing on behalf of debtor
                                                                                       Brian Weiss

                                                                                       Printed name
                                                                                       Chief Restructuring O cer
                                                                                       Position or relationship to debtor
